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                     Exhibit 3
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                                                                 Haddon, Morgan and Foreman, P.C.
                                                                                         Ty Gee

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   July 29, 2016


   VIA EMAIL

   Meredith Schultz
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   Re: Conferral on Discovery Issues
       Giuffre v. Maxwell, No. 15-cv-07433-RWS (S.D.N.Y.)

   Dear Counsel:

   This letter is a follow-up to our conferral on July 26, 2016.

   Regarding plaintiff’s RFP 12, we are supplementing with the following based
   on your letter of June 8, 2016. The RFP requires defendant to “produce all
   documents concerning Virginia Giuffre (a/k/a Virginia Roberts), whether or
   not they reference her by name. This request includes, but is not limited to, all
   communications, diaries, journals, calendars, blog posts (whether published or
   not), notes (handwritten or not), memoranda, mobile phone agreements, wire
   transfer receipts, or any other document that concerns Plaintiff in any way,
   whether or not they reference her by name.” Plaintiff is asking defendant to
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   Meredith Schultz
   Paul Cassell
   July 29, 2016
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   produce any document that “concern[s]” plaintiff, “whether or not [the
   document] reference[s] her by name.” As we pointed out in our response, this
   RFP is overbroad. Its overbreadth would be difficult to exaggerate. Of the many
   thousands of documents in this case, which ones would not “concern[]” the
   plaintiff in this case?

   In your June 8 letter, apparently acknowledging the overbreadth of the RFP,
   you suggest the defendant could respond by conducting an electronic search for
   plaintiff’s various names—searching all documents in defendant’s possession.
   Setting aside that this is not what the RFP asked for, that too would entail an
   extraordinary and unreasonable amount of time and money, since plaintiff’s
   various names are guaranteed to have thousands of hits, and someone would
   have to review every hit to determine, e.g., whether the document previously
   was provided to you, whether the document is not subject to production
   because of privilege, or whether it was a false hit. What would be the purpose of
   such an enormous expenditure of time and money? You have not said, but it
   appears fairly obvious that this is fishing with a drift net. We decline your
   request to engage in this exercise.

   Regarding redacted police reports that plaintiff designated “confidential”: We
   objected to plaintiff’s confidentiality designation, and plaintiff failed to file a
   motion in accordance with the Protective Order to maintain the confidentiality
   of the reports. Accordingly, the reports are not confidential under the
   Protective Order.

   Very truly yours,




   Ty Gee

   C: David Boies; Bradley J. Edwards
